                           UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF ALABAMA
                                   NORTHERN DIVISION


 In re:                                                          Chapter 11

 REMINGTON ARMS COMPANY, LLC,                                    Case No. 20-___________(
                                                                             81692-11                 )

                                Debtor.


                              CORPORATE OWNERSHIP STATEMENT

         Pursuant to Bankruptcy Rules 1007(a)(1) and 7007.1, the following is a list of any
 corporation, other than a governmental unit, that directly or indirectly owns 10% or more of any
 class of equity interests in the above-captioned debtor.

           Debtor                            Direct Owner(s)                         Indirect Owners
 Remington Arms Company,               FGI Operating Company, LLC          Remington Outdoor Company, Inc.
 LLC                                   100 Electronics Boulevard SW        100 Electronics Boulevard SW
                                       Huntsville, AL 35824                Huntsville, AL 35824

                                                                           FGI Holding Company, LLC
                                                                           100 Electronics Boulevard SW
                                                                           Huntsville, AL 35824

                                                                           Cede & Co.1




 1
   The majority of the common stock of Remington Outdoor Company, Inc. is held by Cede & Co. as the nominal
 holder. The Debtors are informed and believe that (i) funds managed (but not owned) by Franklin Advisers hold
 shares and debt securities issued by the Debtors; (ii) the percentage of shares owned by these separate funds if
 aggregated exceeds 10% of the total equity; and (iii) at least one individual fund managed by Franklin holds more
 than 10% of the equity. The Debtors are also informed and believe that J.P. Morgan Investment Management, Inc.
 and JPMorgan Chase Bank, N.A. manage investment accounts on behalf of multiple direct or indirect owners who,
 in the aggregate, own 10% or more, of the equity interests in the Debtors. The Debtors are not able to independently
 verify these holdings.




Case 20-81692-CRJ11             Doc 3      Filed 07/27/20 Entered 07/27/20 23:00:00                       Desc Main
                                          Document      Page 1 of 2
Fill in this information to identify the case and this filing:

Debtor Name Remington Arms Company, LLC

United States Bankruptcy Court for the Northern District of Alabama

Case number (if known): ________
                        20-81692-11 _



Official Form 202
Declaration Under Penalty of Periury for Non-Individual Debtors                                                              12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign
and submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not
included in the document, and any amendments of those documents. This form must state the individual's position or
relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING - Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years,
or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


             Declaration and signature

         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized
         agent of the partnership, or another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the
         information is true and correct:

         □        Schedule A/8: Assets-Real and Personal Property (Official Form 206A/B)

         □        Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         □        Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         □        Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         □        Schedule H: Codebtors (Official Form 206H)

         □        Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

         □        Amended Schedule

         □        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
                  Are Not Insiders (Official Form 204)

                  Other document that requires a declaration Corporate Ownership Statement


                                                                                                         ation and belief.

         Executed on        07/27/2020
                           MM/DD/YYYY

                                                                         Ken D'Arcy
                                                                         Printed name

                                                                         Chief Executive Officer
                                                                         Position or relationship to debtor




         Case 20-81692-CRJ11               Doc 3      Filed 07/27/20 Entered 07/27/20 23:00:00                        Desc Main
                                                     Document      Page 2 of 2
